2
        Case 1:20-cv-10484-GAO Document 12 Filed 05/11/20 Page 1 of 14



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                          C.A. No. 1:20-cv-10484-GAO
________________________________________________
EDWARD SULLIVAN, HEATHER SULLIVAN,              )
DOE CHILD 1, DOE CHILD 2, DOE CHILD 3 and       )
DOE CHILD 4,                                     )
      Plaintiffs,                               )
                                                 )
vs.                                             )
                                                 )
TOWN OF WALPOLE, MA,WALPOLE POLICE               )
DEPARTMENT, CHIEF JOHN F. CARMICHAEL, JR., )
OFFICER ANDREW KIEWLICZ, DET. MICHAEL            )
BENNER, DET. SGT. RICHARD KELLEHER,              )
OFFICER THOMAS HART, DET. KYLE GRIFFIN,          )
OFFICER MATTHEW CROWN, AND OTHER NAMES )
UNKNOWN TO THE PLAINTIFFS AT THIS TIME,          )
WALPOLE SCHOOL DEPARTMENT, VICE                  )
PRINCIPAL LEE TOBEY, AND OTHERS AS YET          )
UNKNOWN TO THE PLAINTIFFS,                      )
      Defendants.                                )


  ANSWER AND JURY DEMAND OF DEFENDANTS, TOWN OF WALPOLE, MA,
WALPOLE POLICE DEPARTMENT, CHIEF JOHN F. CARMICHAEL, JR., OFFICER
ANDREW KIEWLICZ, DET. MICHAEL BENNER, DET. SGT. RICHARD KELLEHER,
 OFFICER THOMAS HART, DET. KYLE GRIFFIN, OFFICER MATTHEW CROWN,
     WALPOLE SCHOOL DEPARTMENT & VICE PRINCIPAL LEE TOBEY

                                       FIRST DEFENSE

       Plaintiffs’ Complaint fails to state a claim against the defendants upon which relief can be

granted and, therefore, must be dismissed.

                                     SECOND DEFENSE

       The defendants, Town of Walpole, MA, Walpole Police Department, Chief John F.

Carmichael, Jr., Officer Andrew Kiewlicz, Det. Michael Benner, Det. Sgt. Richard Kelleher,

Officer Thomas Hart, Det. Kyle Griffin, Officer Matthew Crown, Walpole School Department and
        Case 1:20-cv-10484-GAO Document 12 Filed 05/11/20 Page 2 of 14



Vice Principal Lee Tobey [hereinafter “defendants”], respond to plaintiffs’ Complaint, paragraph

by paragraph, as follows:

                                          Introduction

1.     The defendants neither admit nor deny the statement contained in the first sentence of

Paragraph 1 as it is a mere conclusion of law to which no response is required. To the extent a

response is nevertheless necessary, the defendants deny that the plaintiffs’ civil rights were

violated or that plaintiffs suffered damages as a result. The defendants admit that, on or about

October 24, 2018, the plaintiff, Edward Sullivan, was placed under arrest for domestic assault and

battery, but deny the remainder of the allegations contained in the second sentence of Paragraph

2. The defendants admit that, at the direction of the Department of Children and Families (“DCF”),

which initiated an “emergency response” in accordance with 110 CMR 4.25(1)(b), the minor

plaintiffs were temporarily detained for their own health and safety. The defendants further admit

that S.S., C.S. and B.S. were temporarily detained in Walpole Public Schools, and that T.S. was

temporarily detained at the home of a friend whom she was visiting. The defendants deny the

remainder of the allegations contained in the third sentence of Paragraph 3.

2.     The defendants admit the plaintiff, Edward Sullivan, was charged with domestic assault

and battery upon his daughter, S.S., and that he was scheduled to be arraigned the following day

in Wrentham District Court. The defendants admit the plaintiff, Edward Sullivan, was not

arraigned the following day. The defendants deny the remainder of the allegations contained in

Paragraph 2.

3.     The defendants admit that, on or about November 28, 2018, the Norfolk County District

Attorney’s Office entered a notice of nolle prosequi.

4.     The defendants admit the allegations contained in Paragraph 4.



                                                2
        Case 1:20-cv-10484-GAO Document 12 Filed 05/11/20 Page 3 of 14



5.     The defendants neither admit nor deny the allegations contained in Paragraph 5, because

they have no actual knowledge of same and, therefore, call upon plaintiffs to prove same.

6.     The defendants deny the allegations contained in Paragraph 6.

7.     The defendants deny the allegations contained in Paragraph 7.

                                    Jurisdiction and Venue

       The defendants deny that this action arises, in part, under the Massachusetts Tort Claims

Act, M.G.L. c. 258, §§ 1, et seq., as plaintiffs’ Complaint contains no claim asserted under M.G.L.

c. 258, § 2. The defendants neither admit nor deny the remainder of the “Jurisdiction and Venue”

section as it contains mere conclusions of law to which no response is required.

                                             Parties

1.     The defendants admit the allegations contained in Paragraph 1.

2.     The defendants admit the allegations contained in Paragraph 2.

3.     The defendants admit the allegations contained in Paragraph 3.

4.     The defendants admit the allegations contained in Paragraph 4.

5.     The defendants admit the allegations contained in Paragraph 5.

6.     The defendants admit the allegations contained in Paragraph 6.

7.     The defendants admit the defendant, Town of Walpole, is a public employer, and that the

defendants, Chief John F. Carmichael, Jr., Officer Andrew Kiewlicz, Det. Michael Benner, Det.

Sgt. Richard Kelleher, Officer Thomas Hart, Det. Kyle Griffin and Officer Matthew Crown, are

public officials and/or public employees within the Walpole Police Department. The defendants

deny the remainder of the allegations contained in the first sentence of Paragraph 7. The

defendants neither admit nor deny the statement contained in the second sentence of Paragraph 7




                                                3
         Case 1:20-cv-10484-GAO Document 12 Filed 05/11/20 Page 4 of 14



as it is a mere conclusion of law to which no response is required. In further responding, the

defendants state that plaintiffs’ Complaint contains no count for negligence.

8.      The defendants admit that John F. Carmichael, Jr., was the Walpole Chief of Police

appointed pursuant to M.G.L. c. 41, § 97. The defendants neither admit nor deny the remainder

of the statements contained in Paragraph 7 as they are mere conclusions of law to which no

response is required.

9.      The defendants admit that, on or about October 24, 2018, Richard Kelleher was a Detective

Sergeant in the Walpole Police Department and is now the Deputy Chief. The defendants further

admit that Det. Sgt. Kelleher was acting in his official capacity at all relevant times.

10.     The defendants admit that, on or about October 24, 2018, Michael Benner was a Detective

in the Walpole Police Department and is now a Sergeant. The defendants further admit that Det.

Benner was acting in his official capacity at all relevant times.

11.     The defendants admit that, on or about October 24, 2018, Kyle Griffin was a Detective in

the Walpole Police Department. The defendants further admit that Det. Griffin was acting in his

official capacity at all relevant times.

12.     The defendants admit that, on or about October 24, 2018, Andrew Kiewlicz was an Officer

in the Walpole Police Department and is now a Detective. The defendants further admit that

Officer Kiewlicz was acting in his official capacity at all relevant times.

13.     The defendants admit that, on or about October 24, 2018, Thomas Hart was an Officer in

the Walpole Police Department. The defendants further admit that Officer Hart was acting in his

official capacity at all relevant times.




                                                  4
         Case 1:20-cv-10484-GAO Document 12 Filed 05/11/20 Page 5 of 14



14.     The defendants admit that, on or about October 24, 2018, Matthew Crown was an Officer

in the Walpole Police Department. The defendants further admit that Officer Crown was acting

in his official capacity at all relevant times.

15.     The defendants neither admit nor deny the allegations contained in Paragraph 15, because

they have no actual knowledge of same and, therefore, call upon plaintiffs to prove same.

16.     The defendants admit that the defendant, Town of Walpole, is a public employer, and that

the defendant, Vice Principal Lee Tobey, is a public official and/or public employee within the

Walpole School Department. The defendants deny the remainder of the allegations contained in

the first sentence of Paragraph 16.

17.     The defendants admit that, on or about October 24, 2018, Lee Tobey was Vice Principal

of Walpole High School (“WHS”), a public school operated by the Walpole School Department.

The defendants further admit that Vice Principal Tobey was acting in her official capacity at all

relevant times.

                                                  Facts

18.     The defendants admit the allegations contained in the first two sentences of Paragraph 18.

The defendants admit the plaintiff, S.S., was a place kicker on the WHS freshmen football team.

The defendants admit S.S. attended school on October 24, 2018 and that, during or around the time

of her lunch period, she had a conversation with a fellow student, K.C. The defendants neither

admit nor deny the remainder of the allegations contained in Paragraph 18, because they have no

actual knowledge of same and, therefore, call upon plaintiffs to prove same.

19.     The defendants admit K.C. inquired of S.S. about the bruises on her cheeks.           The

defendants deny the allegations contained in the second sentence of Paragraph 19. In further

responding, the defendants state that, during their conversation, S.S. disclosed to K.C. that the



                                                   5
        Case 1:20-cv-10484-GAO Document 12 Filed 05/11/20 Page 6 of 14



bruises on her cheeks were inflicted by her father, the plaintiff, Edward Sullivan. The defendants

neither admit nor deny the allegations contained in the third sentence of Paragraph 18, because

they have no actual knowledge of same and, therefore, call upon plaintiffs to prove same.

20.    The defendants admit that K.C. informed WHS personnel what S.S. had disclosed to her –

namely, that the bruises on S.S.’s cheeks were inflicted by her father, the plaintiff, Edward

Sullivan. The defendants deny the remainder of the allegations contained in Paragraph 20.

21.    The defendants admit that Vice Principal Tobey summoned S.S. to her office to inquire

about the cause(s) of the bruises on her cheeks.

22.    The defendants admit that S.S. told Vice Principal Tobey that she sustained the bruises

when her brother fell out of bed and struck her. The defendants deny the remainder of the

allegations contained in Paragraph 22.

23.    The defendants admit that Vice Principal Tobey filed a report of suspected abuse of S.S.

with DCF pursuant to M.G.L. c. 119, § 51A. The defendants deny that Vice Principal Tobey’s

report was based solely on the story reported to her by K.C. In further responding, the defendants

state that, as a mandated reporter, Vice Principal Tobey was under a statutory obligation to file a

51A report with DCF if she had a reasonable cause to believe that a child was a victim of physical

or emotional injury resulting from abuse. Vice Principal Tobey had reasonable cause to believe

that S.S. was such a victim.

24.    The defendants neither admit nor deny the allegations contained in Paragraph 24, because

they have no actual knowledge of same and, therefore, call upon plaintiffs to prove same.

25.    The defendants admit the allegations contained in the first sentence of Paragraph 25. The

defendants admit that, shortly thereafter, WHS freshmen football coach Thomas Hart escorted S.S.

to the Main Offices at WHS. The defendants further admit that members of the Walpole Police



                                                   6
        Case 1:20-cv-10484-GAO Document 12 Filed 05/11/20 Page 7 of 14



Department and an investigator from DCF also arrived at WHS. The defendants further admit that

Thomas Hart waited with S.S. in a room across the hall from the Main Offices. The defendants

deny the remainder of the allegations contained in Paragraph 25.

26.    The defendants admit that the DCF investigator interviewed S.S. in the presence of

Walpole Police and Vice Principal Lee Tobey. The defendants admit that the DCF investigator

asked S.S., among other things, if she knew why he was there, about the cause(s) of the bruises on

her cheeks, about her family and home life, whether there were any arguments or disagreements

at home last night, whether there were any arguments or issues this morning, when her brother fell

out of bed, about forms of discipline used in the home, what “safe” meant to her and whether she

felt “safe,” about dating and school activities, and whether she had any other marks or bruises.

The defendants deny the remainder of the allegations contained in the second sentence of

Paragraph 26. The defendants admit that S.S. was temporarily detained at WHS until her

grandmother picked her up at approximately 6:00 p.m. The defendants deny the remainder of the

allegations contained in the third sentence of Paragraph 26.

27.    The defendants admit that, at the direction of DCF, which initiated an “emergency

response” in accordance with 110 CMR 4.25(1)(b), Walpole Police instructed personnel at Fisher

Elementary School to temporarily detain C.S. and B.S. until the DCF investigator had an

opportunity to interview them. The defendants admit that school personnel complied with this

request. The defendants admit the allegations contained in the third sentence of Paragraph 27.

The defendants admit that, at the direction of DCF, Walpole Police asked the homeowner not to

let T.S. leave until the DCF investigator had an opportunity to interview her. The defendants admit

that the homeowner complied with this request. The defendants deny the remainder of the

allegations contained in the third sentence of Paragraph 27.



                                                7
          Case 1:20-cv-10484-GAO Document 12 Filed 05/11/20 Page 8 of 14



28.      The defendants admit that, at approximately 4:00 p.m., Walpole Police placed the plaintiff,

Edward Sullivan, under arrest for domestic assault and battery. The defendants admit that, after

he was given his Miranda rights, Mr. Sullivan spoke to Walpole Police. The defendants admit that

Mr. Sullivan denied he assaulted his daughter, and that S.S., in her interview with the DCF

investigator, denied that the bruises on her cheeks were inflicted by her father. The defendants

deny the remainder of the allegations contained in Paragraph 28.

29.      The defendants admit that the DCF disposition found the allegation of physical abuse of

S.S. by the plaintiff, Edward Sullivan, “unsupported.” The defendants further admit that, on or

about November 28, 2018, the Norfolk County District Attorney’s Office entered a notice of nolle

prosequi. The defendants deny the remainder of the allegations contained in Paragraph 29.

                                            Count One
                                   Violation of 42 U.S.C. § 1983
                                         (All Defendants)

30.      The defendants repeat and incorporate by reference their responses to Paragraphs 1 – 29

above.

31.      The defendants deny the allegations contained in Paragraph 31.

32.      The defendants deny the allegations contained in Paragraph 32.

33.      The defendants deny the allegations contained in Paragraph 33.

34.      The defendants deny the allegations contained in Paragraph 34.

35.      The defendants deny the allegations contained in Paragraph 35.

36.      The defendants deny the allegations contained in Paragraph 36.

                                          Count Two
                           Conspiracy in Violation of 42 U.S.C. § 1983
                                        (All Defendants)




                                                  8
          Case 1:20-cv-10484-GAO Document 12 Filed 05/11/20 Page 9 of 14



37.      The defendants repeat and incorporate by reference their responses to Paragraphs 1 – 36

above.

38.      The defendants deny the allegations contained in Paragraph 38.

                                           Count Three
                            Violation of Massachusetts Civil Rights Act
                                         (All Defendants)

39.      The defendants repeat and incorporate by reference their responses to Paragraphs 1 – 38

above.

40.      The defendants deny the allegations contained in Paragraph 40.

                                            Count Four
                            Intentional Infliction of Emotional Distress
                                          (All Defendants)

41.      The defendants repeat and incorporate by reference their responses to Paragraphs 1 – 40

above.

42.      The defendants deny the allegations contained in Paragraph 42.

                                           Relief Requested

1.       The defendants deny that this action is brought under the Massachusetts Tort Claims Act,

M.G.L. c. 258, §§ 1, et seq., as plaintiffs’ Complaint contains no claim asserted under M.G.L. c.

258, § 2. The defendants admit that the Town received a letter from plaintiffs’ counsel dated

February 21, 2019, but deny that said letter sufficiently identifies alleged acts or omissions of

negligence on the part of the Town or Town employees acting within the scope of their

employment. The defendants deny that plaintiffs satisfied the condition precedent for bringing an

action under M.G.L. c. 258, § 2.

2.       The defendants deny all liability to the plaintiffs and further deny that plaintiffs are entitled

to any of the relief requested.



                                                    9
        Case 1:20-cv-10484-GAO Document 12 Filed 05/11/20 Page 10 of 14



                                       THIRD DEFENSE

       The defendants are immune for intentional torts under M.G.L. c. 258, § 10(c). Therefore,

Count Four must be dismissed.

                                     FOURTH DEFENSE

       The defendants had probable cause to believe that the plaintiff, Edward Sullivan, had

committed an assault and battery in violation of M.G.L. c. 265, § 13A.       The defendants acted

reasonably, in good faith, in compliance with M.G.L. c. 209A, and in compliance with the

statewide policy regarding domestic violence. Therefore, the defendants are immune under

M.G.L. c. 209A, § 6.

                                       FIFTH DEFENSE

       The 51A report was made in good faith and was not frivolous. Therefore, the defendants

are immune under M.G.L. c. 119, § 51A(g).

                                       SIXTH DEFENSE

       Punitive damages are not recoverable against the Town or Town officials or employees

sued in their official capacity. City of Newport v. Fact Concerts, Inc., 453 U.S. 247, 260 (1981).

                                     SEVENTH DEFENSE

       Plaintiffs’ Complaint contains no allegations regarding any violation(s) of the rights of, or

injuries or harm caused to, the plaintiff, Heather Sullivan. Therefore, the Complaint of the

plaintiff, Heather Sullivan, must be dismissed.

                                      EIGHTH DEFENSE

       Plaintiffs’ injuries and damages were caused by someone for whose conduct, acts and

omissions the defendants cannot be held responsible.

                                       NINTH DEFENSE



                                                  10
        Case 1:20-cv-10484-GAO Document 12 Filed 05/11/20 Page 11 of 14



       The Department of Children and Families had reasonable cause to believe that the minor

plaintiffs’ health or safety was in immediate danger from abuse. Therefore, the temporary

detention of the minor plaintiffs was not unreasonable. M.G.L. c. 119, § 51B(c).

                                       TENTH DEFENSE

       The defendants, Chief John F. Carmichael, Jr., Officer Andrew Kiewlicz, Det. Michael

Benner, Det. Sgt. Richard Kelleher, Officer Thomas Hart, Det. Kyle Griffin, Officer Matthew

Crown and Vice Principal Lee Tobey are sued only in their official capacities. An official capacity

suit against a municipal official is a suit against the municipality itself. Suprenant v. Rivas, 424

F.3d 5, 19 (1st Cir. 2005). As the Town of Walpole is also a named defendant, plaintiffs’ claims

as against the individual defendants are duplicative and should be dismissed. Alternatively, the

individual defendants are entitled to qualified immunity.

                                    ELEVENTH DEFENSE

       The defendants, Walpole Police Department and Walpole School Department, have no

legal existence or liability to suit separate from the Town of Walpole. Henschel v. Worcester

Police Dep’t, Worcester, Mass., 445 F.2d 624 (1st Cir. 1971). As the Town of Walpole is also a

named defendant, plaintiffs’ claims as against the Walpole Police Department and Walpole School

Department are duplicative and should be dismissed.

                                     TWELFTH DEFENSE

       The defendants are not “persons” subject to suit under the Massachusetts Civil Rights Act.

Howcroft v. City of Peabody, 51 Mass. App. Ct. 573, 592 (2001). Therefore, Count Three must

be dismissed.

                                   THIRTEENTH DEFENSE




                                                11
        Case 1:20-cv-10484-GAO Document 12 Filed 05/11/20 Page 12 of 14



       Plaintiffs’ Complaint fails to allege any unconstitutional policy, practice or custom.

Further, no unconstitutional policy, practice or custom was either adopted, followed or adhered to

by the defendants. Therefore, Counts One and Two must be dismissed.

                                   FOURTEENTH DEFENSE

       Plaintiffs’ Complaint fails to allege with specificity material facts showing the existence

and scope of a conspiracy among the defendants. Plaintiffs’ Complaint contains only conclusory

allegations of conspiracy. Therefore, Count Two must be dismissed.

                                     FIFTEENTH DEFENSE

       Plaintiffs’ Complaint fails to allege with specificity the misconduct and/or wrongful acts

of the individual defendants. Instead, plaintiffs collectively refer to the “Police,” the “Police

Department,” “Officers,” and “Walpole School officials.” Therefore, plaintiffs’ Complaint as

against the individual defendants must be dismissed.

                                     SIXTEENTH DEFENSE

       The defendants’ actions and conduct were protected by law and/or legal process and,

therefore, the plaintiffs cannot recover.

                                  SEVENTEENTH DEFENSE

       The defendants did not deprive the plaintiffs of any rights secured by the Constitution, the

Massachusetts Declaration of Rights, or by the laws of the United States and/or Massachusetts.

Therefore, the plaintiffs cannot recover. In the alternative, if the defendants deprived plaintiffs of

any constitutional or statutory rights, such rights were not clearly-established at the time of the

alleged deprivation.

                                   EIGHTEENTH DEFENSE




                                                 12
       Case 1:20-cv-10484-GAO Document 12 Filed 05/11/20 Page 13 of 14



       Plaintiffs’ Complaint fails to allege sufficient facts to support a claim that plaintiffs’ rights

were interfered with by means of threats, intimidation or coercion. Therefore, Count Three must

be dismissed.

                                   NINETEENTH DEFENSE

       A direct violation of law does not involve threats, intimidation or coercion and, therefore,

does not implicate the Massachusetts Civil Rights Act. Longval v. Commissioner of Corrections,

404 Mass. 325, 333 (1989). Therefore, Count Three must be dismissed.

                                    TWENTIETH DEFENSE

       Count Two of plaintiffs’ Complaint is barred by the intra-corporate conspiracy doctrine.

                                  TWENTY-FIRST DEFENSE

       Plaintiffs’ Complaint fails to state a claim under the Massachusetts Tort Claims Act,

M.G.L. c. 258, §§ 1, et seq. But even if it does, which the defendants deny, the defendants are

immune under M.G.L. c. 258, § 2 and M.G.L. c. 258, § 10(h).

                                         JURY DEMAND

       The defendants demand a trial by jury on all claims.




                                                  13
         Case 1:20-cv-10484-GAO Document 12 Filed 05/11/20 Page 14 of 14




                                          Respectfully submitted,

                                          The Defendants,
                                          TOWN OF WALPOLE, MA, WALPOLE POLICE
                                          DEPARTMENT, CHIEF JOHN F. CARMICHAEL, JR.,
                                          OFFICER ANDREW KIEWLICZ, DET. MICHAEL
                                          BENNER, DET. SGT. RICHARD KELLEHER,
                                          OFFICER THOMAS HART, DET. KYLE GRIFFIN,
                                          OFFICER MATTHEW CROWN, WALPOLE SCHOOL
                                          DEPARTMENT, and VICE PRINCIPAL LEE TOBEY,

                                          By their Attorneys,

                                          PIERCE DAVIS & PERRITANO LLP

                                          /s/ John J. Davis
                                          __________________________________
                                          John J. Davis, BBO #115890
                                          10 Post Office Square, Suite 1100N
                                          Boston, MA 02109
                                          (617) 350-0950


Dated: May 11, 2020


                                      CERTIFICATE OF SERVICE

        I hereby certify that the foregoing, filed through the Electronic Case Filing System, will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and that a paper
copy shall be served upon those indicated as non-registered participants on May 11, 2020.


                                          /s/ John J. Davis
                                          _____________________________________
                                          John J. Davis, Esq.




                                                      14
